               Case 1:20-cv-00783-RP Document 95 Filed 01/26/22 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,                                            CIVIL ACTION NO. 1:20-cv-783
                        Plaintiff,

          v.

CLINICAL PATHOLOGY
LABORATORIES, INC. and SONIC
HEALTHCARE USA, INC.,
                        Defendants.



                  JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT

       Pursuant to the Court’s Amended Agreed Scheduling Order (Doc. 59) and Local Rule

CV-88, Plaintiff Homeland Insurance Company of New York (“Homeland”) and Defendants

Clinical Pathology Laboratories, Inc. and Sonic Healthcare USA, Inc. (“Defendants”)

(collectively, the “Parties”) jointly submit the following Alternative Dispute Resolution (“ADR”)

Report:

I.     Agreed Method of ADR

       The Parties agree that mediation is an appropriate method of ADR for this matter.

II.    ADR Provider

       The Parties have agreed to mediate with Arnold Levinson, Esq. of ADR Services, Inc.

III.   Method of Compensating the ADR Provider

       The Parties will equally share the costs of mediation.
IV.    Date for Completion of ADR

       The Parties will complete mediation by July 14, 2022 (60 days before the current trial

date of September 12, 2022).




                                               -1-
                                                                              JOINT ADR REPORT
       Case 1:20-cv-00783-RP Document 95 Filed 01/26/22 Page 2 of 4




V.   ADR Attendance

     The Parties agree that mediation may be conducted virtually.



     Respectfully submitted this 26th day of January, 2022.

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                                            -2-
                                                                          JOINT ADR REPORT
Case 1:20-cv-00783-RP Document 95 Filed 01/26/22 Page 3 of 4




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                            -3-
                                                         JOINT ADR REPORT
          Case 1:20-cv-00783-RP Document 95 Filed 01/26/22 Page 4 of 4




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of this document was served upon

counsel of record for all parties who have made an appearance in this case at the addresses

indicated by CM/ECF electronic notification on this 26th day of January 2022.



                                                               /s/ John T. Brooks
                                                                 John T. Brooks




                                               -4-
                                                                              JOINT ADR REPORT
